                                                                                               1 Tracy Green (Bar No. 114876)
                                                                                                 WENDEL ROSEN LLP
                                                                                               2 1111 Broadway, 24th Floor
                                                                                                 Oakland, California 94607-4036
                                                                                               3 Telephone: (510) 834-6600
                                                                                                 Fax: (510) 834-1928
                                                                                               4 Email: tgreen@wendel.com

                                                                                               5 Attorneys for Marlow Estates HOA,
                                                                                                 Secured Creditor
                                                                                               6

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                                                                                               8                             UNITED STATES BANKRUPTCY COURT

                                                                                               9                             NORTHERN DISTRICT OF CALIFORNIA

                                                                                              10                                      SANTA ROSA DIVISION

                                                                                              11

                                                                                              12 In re                                               Case No. 19-10519-DM
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                              13 CARLOS ORTIZ LOPEZ,                                 Chapter 13
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                              14
                                                                                                                                                     OPPOSITION TO OBJECTION TO
                                                                                                                         Debtor.                     PROOF OF CLAIM
                                                                                              15

                                                                                              16

                                                                                              17          Marlow Estates HOA opposes the Debtor’s objection to Claim No. 7-2 for the reasons set
                                                                                              18 forth herein, and requests a hearing on or after November 20, 2019.

                                                                                              19                            MARLOW’S SECURED CLAIM IS VALID
                                                                                              20          Debtor objects to the amount of the secured portion of the Marlow Proof of Claim No. 7-2
                                                                                              21 in which it sets forth the basis of its claim. A copy of the Proof of Claim is attached as Exhibit A

                                                                                              22 for the court’s convenience. Attached as an exhibit to that Proof of Claim is a Notice of

                                                                                              23 Delinquent Assessment (“Notice”) which was recorded, and which Debtor does not dispute. That

                                                                                              24 Notice states that the Notice includes the assessments noted, and the future assessments incurred

                                                                                              25 and states:

                                                                                              26                 Additional monies shall accrue under this lien at the rate of the
                                                                                                                 Association’s periodic or special assessments, plus permissible late
                                                                                              27                 charges, costs of collection and interest, if any, subsequent to the
                                                                                                                 date of this Lien.…
                                                                                              28


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                                                                                             Case: OPPOSITION
                                                                                                   19-10519 TODoc# 23 Filed: 10/29/19 Entered: 10/29/19 16:53:55
                                                                                                              OBJECTION TO PROOF OF CLAIM
                                                                                                                                                                                 Page 1 of 19
                                                                                               1          California Civil Code Section 5650(a) and (b) sets forth the amounts that an HOA can

                                                                                               2 collect, and specifically indicates that the HOA can charge late fees, interest, and attorney’s fees in

                                                                                               3 collecting the regular and special assessments, and provides as follows:

                                                                                               4                  A regular or special assessment and any late charges, reasonable
                                                                                                                  fees and costs of collection, reasonable attorney’s fees, if any, and
                                                                                               5                  interest, if any, as determined in accordance with subdivision (b),
                                                                                                                  shall be a debt of the owner of the separate interest at the time the
                                                                                               6                  assessment or other sums are levied. CCC § 5650(a)

                                                                                               7          Marlow’s secured claim is authorized by the California Civil Code, and Debtor has no

                                                                                               8 basis for objecting to the amount of Marlow’s secured claim. To the extent this Court determines

                                                                                               9 that Marlow’s secured claim is anything other than as stated, the balance of Marlow’s claim would

                                                                                              10 be an allowed unsecured claim.

                                                                                              11                  THE ATTORNEY’S FEES ARE REASONABLE
                                                                                              12          The Bankruptcy Trustee filed a motion to dismiss this bankruptcy case because of the
                                                     O akland, Ca lif or ni a 946 07-4 036
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Wendel Rosen LLP




                                                                                              13 gross inadequacies in Debtor’s proposed Plan. Yet as of this writing he has made no attempts to

                                                                                              14 amend his Plan to comply with basic bankruptcy requirements. (See, Docket No. 20). Instead of

                                                                                              15 complying with his duties, he is continuing in his efforts to use this bankruptcy case to delay the

                                                                                              16 payment of creditors in bad faith. Debtor continues to cause Marlow to incur additional legal fees,

                                                                                              17 and that is increasing its claim and lien in this case.

                                                                                              18          Marlow is incurring legal fees in enforcing its lien and its claim, and those fees are
                                                                                              19 reasonable. The amount of $5,000 in the proof of claim was listed as an estimate, not knowing

                                                                                              20 what the actual amount will be. Attached to this opposition as Exhibit B are copies of some of the

                                                                                              21 time records incurred, but do not include all fees incurred to date, and do not include the amount

                                                                                              22 necessary to oppose this objection to the claim and continue to object to the Plan. Marlow will

                                                                                              23 amend its Proof of Claim to include additional fees as they are incurred.

                                                                                              24                                             CONCLUSION
                                                                                              25          This case was filed in bad faith. It is clear that the Plan is not feasible (See, Motion of

                                                                                              26 Chapter 13 Trustee, David Burchard, to Dismiss Case Prior to Confirmation (Docket No. 20) and

                                                                                              27 Marlow’s Objection to Confirmation of Chapter 13 Plan and Request to Convert for Bad Faith

                                                                                              28 (Docket No. 19). Based on the Debtor’s incomplete filings and deficient Plan, there can be no


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                                                                                                                                                                                    Page 2 of 19
                                                                                                                                          2
                                                                                               1 dispute that the Debtor never intended to confirm a Plan and pay creditors what they are entitled to

                                                                                               2 be paid. The fact that the Debtor has chosen to object to a claim rather than correct his deficient

                                                                                               3 Plan and filings, is evidence that this bankruptcy was filed in bad faith, and this objection is a bad

                                                                                               4 faith objection intended to make Marlow incur legal fees and delay the dismissal or conversion of

                                                                                               5 this case. Debtor’s objection to the claim should be denied.

                                                                                               6

                                                                                               7 DATED: Octobrer 29, 2019                    WENDEL ROSEN LLP

                                                                                               8
                                                                                                                                             By:          /s/ Tracy Green
                                                                                               9
                                                                                                                                                   Tracy Green
                                                                                              10                                                   Attorneys for Marlow Estates HOA,
                                                                                                                                                   Secured Creditor
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                                               EXHIBIT A

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Case: 19-10519                   Doc# 23   Filed: 10/29/19   Entered: 10/29/19 16:53:55   Page 4 of 19
     Fill in this information to identify the case

     Debtor    1           Carlos OrlizLooez

     Debtor 2
     (Spous6, if filing)


     U   nited States Bankruptcy Court for   the: Northern District of California

     casenumber 19-10519



 Official Form 410
 Proof of Glaim                                                                                                                                                            04/19

Read the instructions before filling out this form, This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrativo expense. Make such a request according to 11 U.S.C. S 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. lf the documents are not available,
explain in an attachment.
A person who tiles a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 1B U.S.C, SS 152, 157 , and 3571 .

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



                    ldentify the Glaim

1.    Who ls the current
                                        Marlow Estates HOA
      creditor?
                                        Name of the current creditor (the person or entity to be paid for this claim)

                                        Other names the creditor used with the debtor

2.    Has this claim been
                                        d      r.ro
      acquired from
      someone else?                     E      ves.   From whom?


3.    Where should notices              Where should notlces to the creditor be sont?                               Where should payments to the creditor be sent? (if
      and payments to the                                                                                           different)
      creditor be sent?
                                        Tracy Green, Esq., Wendel Rosen LLP                                             Pat Gromer, PAS, AAMC
      Federal Rule of                   Name                                                                        Name
      Bankruptcy Procedure
      (FRBP) 2002(g)                    1111 Broadway, 24th Floor                                                       6572 Oakmont Dr,, Ste. A
                                        Number           Street                                                     Number          Sireet

                                        Oakland                            CA               94607                       Santa Rosa                 CA              95409
                                        city                               State                   ZIP Code         City                          State                    ZIP Code


                                        Contact phone
                                                      51    0-834-6600                                              Contact phone   707-539-581 0

                                        Contact email                     ndel.com                                  contact emait   Patricia@pas-inc.com



                                        Uniform claim identifier for electronic payments in chapter 1 3 (if you use one):




4.    Does this claim amend             fl     ruo
      one already filed?                d y.r. Claim number on court claims registry (f known) 7                                             Filed on     08t15t2019
                                                                                                                                                          MM /DD    /YYYY


5.    Do you know if anyone             d      r.ro
      else has filed a proof            E      Yes. Who made the earlier filing?
      of claim for this claim?

                                                                                                               EXHIBIT A

     orriciar      ForfiflSe    19-10519 Claim 7-2 FiledilSQ56L9" Desc Main Document Page 1 ofp$e                                                                      r

           Case: 19-10519                      Doc# 23            Filed: 10/29/19                Entered: 10/29/19 16:53:55                         Page 5 of 19
               Glve lnformatlon About the Clalm as of the Dato the Care Wes Flled

6,   Do you have any number         Eruo
     you uso to ldentlly the        d   Yes. Last 4 rllglls of the debtofs account or any number you use to ldentlry the    debtor:   -     0       0      2
     debtor?



7,   How much ls the clalm?                                        2       oo Doos thls amount lnclude lnterost or othor chargos?
                                                                                E tto
                                                                                d Vw. Attach statement      itemlzlng lnteresl, fees, expensos, or other
                                                                                          charges requlred by Bankruptcy Rule 3001(c)(2)(A).


     What ls the basls of the       Examples: Goods sold, money loaned, lease, services performed, personal lnJury ot wrongful death, or credlt card,
     clalm?
                                    Attach redacted coples of any documents suppo(ing the claim required by Bankruptcy Rule 3001(c).
                                    Llmit dlscloslng lnformatlon that ls entitled to prlvacy, such as health care information.


                                    Homeowners Dues, fines and collection charges


0.   ls all or part of tho   clalm q    No
     Becured?                       g   Yes,   The clalm is secured by a llen on properly,
                                               Naturo of proportyi
                                               O   neat estate. lf the clalm 19 secured by the debtor's princlpal resldence, llle a Mortgage   Proof of Clalm
                                                                Attachnent (Offlclal Form 410-A) wlth lhls Prool of Claim.
                                               E   Motor vehlcle
                                               d   otnur, Describe:          Notice of Delinquent Assessment attached


                                               Basls for perfectlon:         California Civil Code Section 5675 and CC&R's
                                               Attach redacted coples of documents, lf any, thal show evidence of perfection of a securily lnterest (for
                                               example, a mortgage, lien, certlflcate of title, flnanclng statement, or olher document that shows lhe lien has
                                               beon liled or recorded,)



                                               Value of prop€rty:                            $__52999199-
                                               Amount of the clalm that ls Eecured:          s         20,269.66

                                               Amount of the clalm that ls unsecurod:        $*-*-****--!,0q         (The sum of the secured and unsecured
                                                                                                                     amounts should match the amount ln llne 7.)



                                               Amount nocossary to curg any dofault as of tho date of the petltloni              q             14,935,00


                                               Annual lntorost Rate (when case was      filed)-%
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                                               E Variable

10, le   thls clalm based on    a   dNo
     lease?
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         Case: 19-10519              Doc# 23             Filed: 10/29/19              Entered: 10/29/19 16:53:55                          Page 6 of 19
12. la  all or part of the clslm         /tto
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      nonprlorlty. For example,
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      lor,v llmlts lhe amounl                    p6rsonal, famlly, or hous€hold we. 11 U.S.C. S 607(axn.
      entltled to prlorlty.
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                                                 Taxes or penaltles ow€d to govemmental unlts' 11 U'S.C. S 507(aX8).

                                                 contdbu0ons to an employee benefil plan' 11 U.S.C.               S 507(aX5).

                                                 Olher. Speclfy subs€c{on of 11 U'S'C.          S   507(aX ) thatappllee.       .



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                                     Namo                    Pat Gromer
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                                     Tlfe                    CMCA, Director of North Bay Regional Operations

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                                     AddloBs                 6572 Oakmont Dr., Ste A
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                                                             Santa Rosa                                                    cA             95409
                                                            CltY                                                          StEto         zlPcfds

                                     conbctphono 7Q7-539-5810 x 352                                                       emau      Patricia@oas-inc.com




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      Case: 19-10519                     Doc# 23             Filed: 10/29/19                    Entered: 10/29/19 16:53:55                           Page 7 of 19
             Attached is the following:

             1.         Notice of Delinquent Assessment;

             2.         Itemized Statement as of   1 112212016;   and

             3.         Pre-bankruptcyCollectionCosts.

             The sum of $5,000 has been included in the claim as an estimate of legal fees. When fbes
  are known, this claim       will   be amended.

         The administrative claim to date is the sum of $334.00 and continues to accrue at the rate
  of $34.00 per month, plus additional charges.




                                                     EXHIBIT A

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    Case 19-10519 Claim 7-2 Filed 09/05/19 Desc Main Document Page 4 of 9
Case: 19-10519 Doc# 23 Filed: 10/29/19 Entered: 10/29/19 16:53:55 Page 8 of 19
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  {3       Mnnthly Assr:ssnrcnls     (l                                             $.10.(xt      ()5/0 I /3()l 3       lt/22t20t6             (r,(lr)%          $   l.?90.(n)
  5        l.rrtr: ('hurgcs (rl                                                     s   l(,.(xl   llTllll l2lllt(t      I l/3(Vl{l(lfr                                   $50.(n             I
  I        l.rrtc ('hirrgcr (r                                                      $ l(),(x)     l2/Jv2006             I   2/3 | /3{)(Xr                                $   I   ll.ttl l
  :,{      l;rlu (flrargcs    t?r                                                   s I (',0()    oUDt/20u7             I   2/3 I /200ti                              $2{{1,(ll          }
  l)       J.atq Clhargss (n                                                        $ 10.0(l      0 l/{r I /2r)09       I   3/3 I /2t)09                             $   I30.0{t
  le       l.ir(c C'hargcs (rr.                                                     $   l{}.t)0   0ll)Ill0I0           03/I/:{lt3                                    .!i3911.0(|
  43       t,utc Chargcs (ir                                                        $ l(1.00      0.s/0I /?{) t.1       lI/22/20t6                                   sJ3r).(}{r


                                                                 lntercst rrn Assussntcnts I'rom l)7/3 l/20(Xr rrr I I l22l2l\h                                          s{l,r       )( r



                                    (]OS'|.S OF COI,I-ECTION, N I)VANCt]S                         N   ND PNYMNNTS
          DESCruP'TION                                                        AMOUN'I' I'ROM                                 THRU              RAl'}:            't'o'tAl.
          PRlOtr Dnl.ANC:Ii INTnRESI'                                           $1,3il,?t 07t(\/20t2                  07t$at20l2               0.(,()%         s t..1 I t.:          r
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          IIECORDIN(; .III]LIJASE OF LIEN                                                                                                                             $li,(xl
          cllRTtFiliD MAll. - NODA                                                                                                                               $ 1N.0il

 'f<rlul due Ttu.stee for Fees and Costs:
                                                                                                                                                               $77s.44



r{t-rrr'r47 Case i.g-i.05Lg                     Claim   7-2   Filed   09/05/L9 Desc Main Document Page 6 ef $rrsc I rrl I
           Case: 19-10519                 Doc# 23        Filed: 10/29/19 Entered: 10/29/19 16:53:55                                                 Page 10 of
                                                                       19
O8t21l?01g   11   i23 AM                                                                                                                 Pags:   1

                                                      Morlow Eslalos Owneto AsEoclouon


00-5130 Madow Estates OA                                                                                     OAS Management
Sania Rooa CA 95101                                                                                          0572 Oakmonl Drlve, Sulte A
                                                                                                             Sanla Ross CA 95409




                           Marla Lopez              cho   01t911201s     AM BF.AM                                     4,261,00          4,261,00
                           1
                             ,l00
                                  Alblon Plaoo      chs   01/31 /201I LI BF. LI                                       1,911,21       5,572.21
                           SEnta Roea CA 95401      chg   01t3112015 Ic BF. LF                                        1,244.00       8,810,21
                                                    chs   0113112019  CF BF- Collectlons                                 250,00      7,088.21
                                                    cho   01t911201s Vl BF. Flnas                                     3,000.00      10,066,21
                                                    chg   02t01t2019 AM A8s€sgmont Monlhly                                34,00     10,100.21
                                                    chg   03/01/201 I AM Assossment Monlhly                               34,00     10,134,21
                                                    chs   04t0112019 AM Aseossment Monthly                                34,00     10,1 68.21
                                                    ch0   04/03/201 g Ll Late lnt6rBst                                    43.25     10,2't 1,50
                                                    chg   04/09/201 I LC Late Chg-10/2017                                 10,00     10,221.50
                                                    chg   04/09/201 I LC Late Chg-O1/201S                                 10.00     10,231.60
                                                    chs   01t09t201s     LC   Lato Chg-02/2010                            10.00     10,241.50
                                                    chg   04t1u2a1s      LC   Lale Charge                                 10,00     10,251,60
                                                    chs   0510112019     AM   Assessment Monthly                          34.00     10,285.50
                                                    chs   05/01/201  I   Ll   Late lnteresl                               43.63     10,32S,1 3
                                                    chs   oil1in01s      LC   Lato Charoo                                 10.00     10,339,13
                                                    chs   00/01/201 I    AM   Assesgmenl Monthly                          34,00     10,373,13
                                                    chg   06/01/201 I    Ll   Late Intereal                               43.97     10,417,10
                                                    chs   06/1 5/201 I
                                                                    LC        Lato Charqo                                 10,00     10,427,',10
                                                    Cho Q7l0'll201g AM        Aeseesment Monthly                          34,00     10,101,'10
                                                   .cnfrrustzo1s Vl Yard                                                100.00      10,561.10
                                                    Chs 07Aal201s Vl Fence                                              100,00      1 0,061.10

                                                    Chg 0712612019 Vl Storage of ltens                                  I 00,00     1 0,701.10

                                                    Chg 08/01/2019 AM Aesossment Monthly                                  34,00     1 0,795,1 0

                                                                                                   End Bal                          1   0,796.1 0




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        Case: 19-10519                Doc# 23    Filed: 10/29/19 Entered: 10/29/19 16:53:55                     Page 11 of
                                                               19
               All ied Trustee Services                                                                     INVOICE
               WONKIN6 TO6ETHER TO IMPROVE YOUR COMMUNIIY

               Rlmlt   lo:                     For qucrdonr or   arilrisncrl
                                                                                     INVOICE NUMBTR          0Art         pA6
                                      108
                 990 Besrrve Drlw, Sultc         800,220.5454, optJon 6                                                            E


                 Roscvllle.   CA 95678           lnbor@alliedt.usleo com                13788             7l19l201s            1


    llllla:

        MAHLOW ESTATES OWNEFS ASSOCIATION                                                                             MItFES
                                                                                                                         FAS
        C/O PROFESSIONALASSOCIATION SERVICES, INC.                                                                                         t
                                                                                                                                           ;
                                                                                                                    ffi
        ATTN: PAT GBOMEH
        PATRICIA@PAS.INC.COM                                                                                                               I
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 FITE NUMSTR                  YOUR RTTENENCE                          owNERls)                  PNOPERTY ADDRE5S                           i
  16.11847                       ME-002                  CABLOS OHTIZ LOPEZ                 11OO   ALBION PI.ACE                           E
                                                                                                                                           p
                                                                                          SANTAHOSA,OA 95401                               g
                                                                                                                                           !
   OAT{          oESCRrpTtON                                                                                          AMOUNT

0e/30r2016        VESTING VERIFICATION                                                                                  is.oo          I
09/3012018        SETUP FEE                                                                                            100.00
 10117P'016       PHE.LIEN FEE                                                                                         260.00
10/18/2016        CERTIFIED.          PHE.LIEN                                   :                                      13.rt4
111?212016        NODA FEE                                                                                            950,00
1113012018       RECORDING - NOTICE OF DELINOUENT ASSESSMENT                                                            17.00
1?/0812016       CERTIFIED. NODA                                                                                        1S.M
01naaol7         COLTECTAB]LITY PROFILE TITLE REPOFT                                                                  225.00
0311512017       PRE FOHECLOSUFE NOTICE FEE                                                                           150.00
0311612017       CERTIFIED . PRE.FORECLOSURE NOTICE                                                                    13.54
01t25t2018       TRUSTEE FEE                                                                                          475.00
01125t2018       FECORDINC. NOTICE OF OEFAULT                                                                          92.00
01l2sl201B       RECOHDING. NOTICE OF RESCISSION                                                                      190,00
01125t2d18       TITLE COMPANY RECORDING FEE                                                                           15.00
oa0sE018         TEN DAY MAILING                                                                                       18.62
a512412018       PROCESS SERVIOE. NOD " ONE LEGAL                                                                     150.00
06/05i2018       PROOESS SEFVICE. NOD. ONE LEGAL (ISTATTEMPT)                                                          75.00
06/05/2018       PHOCESS SERVICE. NOD . ONE LEGAL (zND ATTEMPT)                                                       182.50
11/30/20t8       COLLECTABILITY PROFILE TITLE HEPORT UPDATE                                                           125.00
0?i1il2019       THUSTEE SALE GUARANTEE                                                                               285.00
04/15/2019       PUBLICATION NTS                                                                                    1.427.42
041181201e       POST]NG NTS                                                                                          125.00
o4l1Sl201S       NOTICE OF SALE MAITING                                                                                16.60
o4t2u2ue        HECORDING . NOTICE OF TRUSTEE'S SALE                                                                   92.00
0sn712019       POSTPONEMENT FEE                                                                                       25.00
o6h71201S       POSTPONEMENT FEE                                                                                       25.00

                                           AMOUNTS THAT MAY BE PLACED ON OWNER'S            ACCOUNT:               $4,474.5c




      Case 19-105L9 ClaimT-2 Filed 09/05/L9 Desc Main Document Page 8 of 9
   Case: 19-10519 Doc# 23 Filed: 10/29/19 Entered: 10/29/19 16:53:55 Page 12 of
                                        19
                Allied Trustee Services                                                                                INVOICE
                WONXIN6 106EIHER 10 IITPSOVI! YOUR COMMUNITY

                Rrmlt lor                         For   quttlonr cr a$lrtrnc.:                                          DAIE        PA('E
                                                                                               INVOICE NUMHEN
                   990 Rererve Drive, 50ite 208         E00.220.5454, optlon 6
                   Rorevllla, CA 9s678                  lnbor@.lll!dtrustc!,Eom                    1s788             711912019       2

    tnlto:
       MARLOW ESTATES OWNEBS ASSOCIATION                                                                                         MAREE
                                                                                                                                   p^E
       C/O PROFESSIONAL ASSOCIATION SEHVICES, INC.                                                                                          3
                                                                                                                                            i
       ATTN:PAT GHOMER
       PATRICIA@PAS.INC.COM


  FILf NUMBER               YOUR fItFIRINCE                               owNIn{sl                         pRoptRrY ADDRt.Ss
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   16.11 E47                     ME-002                        CARLOS ORTIZ LOPEZ                    llOOALBION PI.ACE                      !
                                                                                                    SANTAROSA,CA 95401                      E
                                                                                                                                            f,

    OAIE           olscRrPTloN                                                                                                   AMOUNT



                                                                                     PLEASE PAY THIS   AMOUNT:             $4,474.56

REASON FOR INVOICE: ALLIED'S FEES AND COSTS FoR PROOF OF CLAIM FlLlNG.




             Case L9-1051g             ClaimT-2               Filed    09/05/19 Desc Main Document Page 9 of 9
    Case: 19-10519                Doc# 23                Filed: 10/29/19 Entered: 10/29/19 16:53:55                      Page 13 of
                                                                       19
                                       EXIIIBIT B

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  Case: 19-10519            Doc# 23   Filed: 10/29/19 Entered: 10/29/19 16:53:55   Page 14 of
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            OSEN                                                                                 -r'
              BLACK   & DEAN   rrp
                                                                                                 Involce

Pat Gromer                                                            Date:                               August 31,2019
Director of North Bay Regional Operations                             Client ID:                               023658.0001
PAS,Inc.,                                                             Invoice Number:                           2000184894
6572 Oamont Dr., Ste. A                                               Billing Attomey:                          Tracy Green
Santa Rosa, CA 95409

  RE:      CARLOS ORTIZ LOPF,Z, DEBTOR



                                              Professional Services

  Date             Description of Services                                             ID        Hours          Amount

  08llsn9          Review case file online to determine next steps                TZG             0.70             385.00
  08122119         Prepare proof of claim and review case     file and            TZG             1.70             935.00
                   prepare email re status and strategy



  TOTAL CURRENT FEES                                                                                          $1,320.00


  Billing Rate Summary

  ID          Name                                                         Rate                  Hours         Amount

  TZG         Tracy Z Green                                             $550.00 2.40                          $1,320.00


  roTAL      CURRENT             FEES                                                                        $1J20J0

             For billing inquiries, please call the Accounting Department at (510) 834-6600




                                                        EXHIBIT B
  ALL COSTS AND DISBURSEMENTS MAY NOT BE BILLED   DUE       r r vr. u\ vvrLE   rnulr   VENDC)R           FED tD # 94-11237 44

    1l1l Broadway,24th FL . Oakland . California .94607 . Telephone: (510) 834-6600 . Fax: (510) 334-1928
  Case: 19-10519 Doc# 23 Filed: 10/29/19 Entered: 10/29/19 16:53:55 Page 15 of
                                                     19
                  W=NDEt
                  ROS_TN

                                                                                         nvorce
Pat Gromer                                                             Date:                         September 30,2019
Director of North Bay Regional Operations                              Client ID:                          023658.0001
PAS,Inc.,                                                              Invoice Number:                       20001 86653
6572 Oamont Dr., Ste. A                                                Billing Attorney:                     Tracy Green
Santa Rosa, CA 95409

  RE:         CARLOS ORTIZ LOPEZ, DEBTOR



                                              Professional Services

  Date              Description of Services                                        ID        Hours           Amount

  091051t9          Prepare email to client in response to questions            TZG           1.50              825.00
                    from president(.4), prepare objection to plan
                    and request for case to be dismissed as bad faith
                    filing(1.1)
  09106119          Prepare objection to plan                                   TZG           r.20              660.00
  09109119          Finalize objection to plan and exchange emails              TZG           0.40              220.00
                    re approval from client to file same

  09l17l19          Exchange emails with client re status of case;              TZG           0.60              330.00
                    exchange emails with trustee re continuance of
                    meeting of creditors;
  09l19l19          Exchange emails re possible settlement terms                TZG           0.30              165.00
  09/26/19          Review client's response to debtor's request for            TZG           0.30              165.00
                    payment; prepare response to debtor's counsel
                    rejecting offer

  TOTAL CURRENT FEES                                                                                       $2,365.00



  Billing Rate Summary

  ID            Name                                                        Rate             Hours           Amount

  TZG           Tracy Z   Green                                           $550.00            4.30          $2,365.00
  ALL COSTS AND DISBURSEMENTS MAY NOT BE BILLED DUE TO LATE RECEIPT OF INVOICE FROM VENDOR             FED rD # XX-XXXXXXX


       llll   Broadway,24th FL.Oakland.California.9460T.Telephone: (510)334-6600.Fax: (510)834-1923
  Case: 19-10519          Doc# 23       Filed: 10/29/19 Entered: 10/29/19 16:53:55                     Page 16 of
                                                      19
Marlow Estates HOA                                                                          September 30,2019
Page2                                                                                   Client ID: 023658.0001
                                                                                 Invoice Number: 2000186653
                                                                                 Billing Attorney: Tracy Green



                                                   Expenses

Date            Description                                                                          Amount

                Swiss Post Copy Charges                                                                    4.30
                U.S. Postage                                                                               2.60

TOTAL CURRENT EXPENSES                                                                                   $6.90



TOTAL CURRENT FEES PLUS EXPENSES                                                                   $2.371.90

          For billing inquiries, please call the Accounting Department at (510) 834-6600




ALL COSTS AND DISBURSEMENTS MAY NOT BE BILLED DUE TO LATE RECEIPT OF INVOICE FROM VENDOR       FED tD # XX-XXXXXXX


    llllBroadway,24thFL.Oakland.California.9460T.Telephone:              (510)834-6600.Fax: (510)834-1928

Case: 19-10519         Doc# 23        Filed: 10/29/19 Entered: 10/29/19 16:53:55               Page 17 of
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Pat Gromer                                                              Date:                         October 29,2019
Director of North Bay Regional Operations                               Client ID:                        023658.0001
PAS,Inc.,                                                               Invoice Number:                    2000186923
6572 Oamont Dr., Ste. A                                                 Billing Attorney:                 Tracy Green
Santa Rosa, CA 95409

  RE:         CARLOS ORTIZ LOPF,Z, DEBTOR



                                               Professional Services

  Date              Description of Services                                       ID          Hours         Amount

  t0ltvt9           Review docket to determine status; prepare                   TZG           0.60            330.00
                    email in response to client inquiry
  l0l2vt9           Review motion to dismiss, prepare email to                   TZG           O.4O            220.00
                    client
  t0l24lt9          Review debtor's objection to claim; forward                  TZG           0.60            330.00
                    same to client with email recommendations
  t0l2slt9          Prepare opposition to objection to claim                     TZG           1.10            605.00
  r0l29l19          Revise opposition to objection to claim                      TZG           1.80            990.00

  TOTAL CURRENT FEES                                                                                      $2,475.00



  Billing Rate Summary

  ID            Name                                                        Rate              Hours         Amount

  TZG           Tracy ZGreen                                               $550.00 4.50                   $2,475.00



  TOTAL CURRENT FEES                                                                                      $2JU5,00

               For billing inquiries, please call the Accounting Department at (510) 834-6600



  ALL COSTS AND DISBTJRSEMENTS MAY NOT BE BILLED DUE TO LATE RECEIPT OF INVOICE FROM VENDOR           FED tD # XX-XXXXXXX


       llll   Broadway,246 FL. Oakland. California.94607. Telephone: (510) 834-6600'Fax: (510) 834-1928
  Case: 19-10519          Doc# 23       Filed: 10/29/19 Entered: 10/29/19 16:53:55                    Page 18 of
                                                      19
                                                                                              1                                    CERTIFICATE OF SERVICE
                                                                                              2          I, Pam Joakimson, declare:

                                                                                              3          I am a citizen of the United States and am employed in the County of Alameda. I am over

                                                                                              4 the age of 18 years and not a party to the within-entitled action. My business address is 1111

                                                                                              5 Broadway, 24th Floor, Oakland, California, 94607-4036.

                                                                                              6          On the date set forth below I caused to be served the following document(s):

                                                                                              7                     OPPOSITION TO OBJECTION TO PROOF OF CLAIM
                                                                                              8 on each party listed below in the following manner:

                                                                                              9 [X]     by ECF to registered ECF recipients for this case:
                                                                                             10
                                                                                                         I declare under penalty of perjury under the laws of the State of California and the United
                                                                                             11
                                                                                                  States of America that the foregoing is true and correct, and that this declaration was executed on
                                                                                             12
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                                  October 29, 2019, at Oakland, California.
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                             13

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                                                                                                                                                          /s/ Pam Joakimson
                                                                                             15                                                           Pam Joakimson
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                                                                                             Case:OPPOSITION
                                                                                                   19-10519TO OBJECTION
                                                                                                              Doc# 23 TOFiled: 10/29/19 Entered: 10/29/19 16:53:55
                                                                                                                         PROOF OF CLAIM
                                                                                                                                                                                  Page 19 of
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